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          EXHIBIT 25
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                       From: Kevan Parekh <                      >
                     Subject: China Info
                Received(Date): Wed, 26 Dec 2018 10:05:38 -0800
                          Cc: Andy Allen <                       >, Edwin Tan <                         >
                          To: Luca Maestri <                    >, Saori Casey <                    >
                 Attachment: PastedGraphic-25.png
                 Attachment: China market and competition update - Q1'19 W13 copy.key
                        Date: Wed, 26 Dec 2018 10:05:38 -0800

               Hi Luca and Saori,

               I hope you both had a nice christmas and are having a somewhat restful holiday.

               Attached please find a package with some summary highlights from the China team that
               was updated last night and includes the following:

               1) Macro Economy and Market Update
                   - Macro indicators - Recent geo-poltitcal factors that seem to have been playing out
               lately (we are seeing some signs of impact from the Huawei CFO issue but its not clear
               how widespread it is)
                   - Market stats (primarily from IDC) but also includes recently released data from the
               China (china academy for information and communication technology (CAICT)) and the
               ministry of industry and information technology (MIIT) both which state the smartphone
               market was down 18% Y/Y (see also clipping below)

               2) Foot Traffic (slide 11)
                   - Edwin and team worked with the local retail team to plot foot traffic across the
               direct and indirect RTMs to see how the trends looked on a Y/Y basis (Nick please let
               me know if you are see this differently)
                        - As you can see, it seemed like the Y/Y for the channel (especially the OTC
               channel) got a bit worse towards the latter part of the quarter
                        - I know Tim was looking for this so we thought it was helpful to provide a cross-
               section across retail / channel

               3) Competitive landscape
                   - As we had outlined to Tim in the last sales meeting, Huawei has priced their
               product line-up much more aggressively in China than in Europe or other markets

               Please let us know if this is helpful and/or if you have any questions or need any
               additional information

               Kevan




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               � Kevan Parekh | Apple Inc. | office:                                | iPhone:
                    |                     <                                     >




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               Please let us know if this is helpful and/or if you have any questions or need any additional
               information

               Kevan




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               � Kevan Parekh | Apple Inc. | office:   | iPhone:     |




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                               China Update



                               December 25, 2018




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                                           China macro economy & market update


                                           Apple foot traffic trend


                                           Smartphone competition update




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                                      China overall economy seems to continue with the downtrend

                                                                               GDP YoY                                                             Stock Market - SSE Index*                                               Exchange rate (RMB vs. USD)
                                      10.6%                                                                                                4,612
                                                                                                                                                                                                                                                6.95                                     6.91          7.05-7.10
                                               9.5%                                                                                                                                                                                              6.95
                                                                                                                                                                                                                                                6.89  6.89
                                                                                                                                                                                                                                                   6.88 6.89
                                                                                                                                                                                                                                                                                       6.93
                                                                                                                                                                                                                                                                                        6.90
                                                                                                                                                                                                                                                                                     6.87 6.91
                                                                                                                                                                                                                                                     6.86                          6.83
                                                                                                                                                                                                                                                          6.81                    6.81
                                                                                                                                                                                                                                               6.78        6.78
                                                                                                                                                                                                                                                             6.72
                                                       7.7% 7.7%                                                                                                                                                                             6.68
                                                                                                                                                                                                                                              6.67
                                                                          7.3%                                                                                                                                                           6.65
                                                                                                                                                                                                                                           6.64                 6.65
                                                                                                                                                                                                                                                                  6.63
                                                                                                                                                                                                                                                               6.59 6.61        6.62
                                                                                  6.9% 6.7% 6.9% 6.6%                                                                                                                            6.58
                                                                                                                                                                                                                                   6.55 6.58
                                                                                                                                                                                                                               6.49 6.47                              6.51
                                                                                                                             6.1%                                                                                                   6.45
                                                                                                                                                                                                                                                                              6.41
                                                                                                           6.6%                                                                                                          6.38
                                                                                                                                                                                                                          6.36
                                                                                                                                                                                                                              6.40
                                                                                                                                                                                                                                                                         6.336.33
                                                                                                                            6.1%                                                                               6.27
                                                                                                                                                                                                              6.25
                                                                                                                                                                                                                            6.32                                        6.29
                                                                                                                                                                                                                                                                           6.28

                                                                                                                                                                                                 2,598           6.20
                                                                                                                                                                                                                   6.20
                                                                                                                                                                                                                    6.20
                                                                                                                                                                                                                      6.20
                                                                                                                                                                                                                        6.21
                                                                                                                                                                                                                                                                        6.28
                                                                                                                                                                                                                6.20
                                        10'     11'      12'      13'      14'        15‘      16'      17' 18’YTD      19‘ fcst        2015                                                 2018 Dec.
                                                                                                                                                                                                              Jan
                                                                                                                                                                                                             2015 Mar
                                                                                                                                                                                                                         Aug        Mar        Oct
                                                                                                                                                                                                                                              2016 Dec
                                                                                                                                                                                                                                                       Untitled 7   Untitled 14 Untitled 21
                                                                                                                                                                                                                                                                     2018 Mar                  Dec    19’ 1H fcst

                                                    GDP YoY growth dropped to 6.6%                                                                                                                                     RMB fell to the 2nd lowest point in 10 years
                                                                                                                                            SSE Index plunges to the lowest point since 2015
                                       potential downward pressure in 2019 based on BoA forecast                                                                                                                 and may turn the corner of depreciation in 2019 (BoA fcst)


                                                             2018 Manufacturing PMI                                                                            M2 / GDP                                                               2018 Retail Sales YoY


                                                                                                                                                                                                                 10.1%
                                                                                                                                                                                                                               9.4%
                                                                                                                                                                                                                                                      9.0% 8.8% 9.0% 9.2%
                                                                                                                             50                                                                                                           8.5%                            8.6%
                                                                                                                                                                                                                                                                                                           8.1%
                                       51.3
                                              50.3
                                                      51.5     51.4
                                                                        51.9   51.5     51.2     51.3
                                                                                                         50.8
                                                                                                                50.2   50                 2018 fcst               2.1                0.7
                                      Jan Feb Mar Apr May Jun                           Jul     Aug Sep Oct Nov                                                                                                     Mar         Apr       May         Jun           Jul        Aug            Sep    Oct   Nov

                                                PMI slides to the critical 50, lowest since Jul 2016                                China is facing inflation pressure while leveraging monetary policy to
                                                                                                                                                                                                                     Lowest YoY growth in 10 years (online +15%, offline -1%)
                                                          indicating contraction pressure                                                                    drive economy growth

                                    *SSE Index: Shanghai Stock Exchange Composite Index




  BoA forecast 2019 China GDP YoY 6.1%
  https://tradingeconomics.com/china/government-debt-to-gdp




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                                     Recent political environment posing great uncertainty in the market dynamics. Impact from the
                                     critical dates ahead in Q2’19 to be monitored.


                                       • Trade war                          Jan                                             Feb                                              Mar
                                                                             8                                               6                                                1
                                       • Huawei CFO
                                                           The deadline for the US to file a formal             Ms. Meng is due back to court                 Both the US and China will refrain from
                                                           request with Canada for Huawei CFO                                                                increasing tariffs or imposing new tariffs
                                                              Meng to be extradited to the US                                                                     for 90 days until March 1, 2019




                                                       “While the speech was being watched for potential policy announcements, Xi offered no new ideas to boost the economy or
                                                       assuage U.S. concerns.”
                                                       “Xi’s Defiant End to 2018 Signals More U.S.-China Tension Ahead”



                                                       “Mr. Xi used the speech to defend policies that he had forged over the past six years to make the Communist Party even more
                                                       powerful, strengthen the state-run sector of the economy while allowing private business to grow, and put China’s stamp on
                                                       international affairs”




                                                       “After Xi assumed power in 2012, Beijing's initial policy was more market-oriented. But, in recent years, the direction has
                                                       reversed and, as of this fall, reform is not moving forward in eight of 10 areas tracked by The China Dashboard, a joint project
                                                       between the Asia Society Policy Institute and the Rhodium Group”




  https://www.bloomberg.com/news/articles/2018-12-18/xi-says-reform-and-opening-up-is-revolution-in-china-s-history

  https://www.nytimes.com/2018/12/18/world/asia/xi-china-speech-takeaways.html

  https://www.cnbc.com/2018/12/17/xi-is-about-to-give-a-speech-heres-why-it-matters.html




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                          Consumer reactions since Dec 6 - linking Huawei and iPhone on social media

                                           Protest                                                         Consumer sentiments on the social media




                                                                                  Wechat                             Weibo                            Douyin



                                                                                                                                                                “Support Huawei” topic
                                                                                                                       “Boycott Apple” topic
                                                                                                                                                                  >10m view counts
                                                                                                                             >1m hits
                                                                                                                                                               “Support Huawei, Support
                                                                                                                                                               local made product” topic
                                                                                                                                                                   >3m view counts
                                                                                                                             “Support Huawei” topic
                                                                                                                                   >2m hits




                              Location: Shanghai Apple Retail Store   Cutting apple to mimic Huawei Logo
                                       Time: 2018 Dec 9th




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                            Spontaneous company reactions since Dec 6 - supporting Huawei devices in various businesses


                            Trade-in subsidy for iPhone switcher to Huawei                    Huawei phone users get free pass to some              Ban of internal purchase of iPhone
                                                                                                  tourist sites (Sina Weibo - China Daily)




                                Additional RMB 1,000 :             Additional RMB 500 :                                                         Some Chinese companies are banning iPhone and
                                                                                                                                                 offering a 10-15 percent subsidy or free gift for
                         Trade in iPhone X for Huawei Mate 20    Trade in iPhone for Huawei
                                                                                                                                             employees who are buying Huawei phones (Yahoo news)
                         Trade in iPhone 7p for Huawei Mate 10




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                          Chinese companies boycott Apple - Dec 24th Nikkei Asian Review




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                          Implicit policy change may have unpredictable sudden impact on business




                                         Service4me Cancellations    - 5 cancellations with Service4me in Hi Tech Parks just this week
                                               by enterprises




                                         Delayed or postponed real   - Over 40% Hi Tech parks real estate discussions have cited political sensitivity
                                             estate discussions
                                                                     with USA and China relations.
                                               in Hi Tech Park



                                                                     - 56 campus stores will be or is scheduled to be close when the leases expires this year.
                                           Stores force closures
                                                                     - Universities /Ministry of Education have issued official notices regarding cessation of
                                                in Campus
                                                                     commercial activities on Campuses.




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                          Dropping market size across all three segments, without signs of recovery




                                                               SMP                 Tablet              PC


                                                   Q1’18       -16%               -12.4%              0.8%

                                                   Q2’18       -16%                -9%                -7.9%

                                                   Q3’18       -6%                 2.1%               -0.9%

                                                   Q4’18       -10%                2.8%               -1.6%

                                                 FY18 Total    -12%                -5%                -2%



                                                    Oct        -15%                 -                   -

                                                    Nov        -18%                 -                   -
                                                               (MIIT)




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                                           China macro economy & market update


                                           Apple foot traffic trend


                                           Smartphone competition update




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                         China store traffic declined Y/Y in both Retail and Reseller stores

                                       Q4'18-Q1'19               Untitled 1           Q4'17-Q1'18

                                                                                                                        iP8/8+               iPXR launch
                                                                                                                        launch                                         iPX launch
                                           2,400
                                                                                             iPXs/Xs Max
                                                                                             launch




                            Retail Store
                                           1,800                                                                                                                                                                             • iPhone Xs/Xs Max launch traffic was
                                           1,200                                                                                                                                                                               comparable to last year’s iPhone 8/8+
                                            600
                                                                                                                                                                                                                               launch, with minor decline Y/Y
                                                    Q4
                                                    W1
                                                           Q4
                                                           W2
                                                                   Q4
                                                                   W3
                                                                          Q4
                                                                          W4
                                                                                Q4
                                                                                W5
                                                                                       Q4
                                                                                       W6
                                                                                              Q4
                                                                                              W7
                                                                                                    Q4
                                                                                                    W8
                                                                                                          Q4
                                                                                                          W9
                                                                                                                 Q4
                                                                                                                 W10
                                                                                                                        Q4
                                                                                                                        W11
                                                                                                                               Q4
                                                                                                                               W12
                                                                                                                                     Q4
                                                                                                                                     W13
                                                                                                                                            Q1
                                                                                                                                            W1
                                                                                                                                                  Q1
                                                                                                                                                  W2
                                                                                                                                                         Q1
                                                                                                                                                         W3
                                                                                                                                                               Q1
                                                                                                                                                               W4
                                                                                                                                                                     Q1
                                                                                                                                                                     W5
                                                                                                                                                                            Q1
                                                                                                                                                                            W6
                                                                                                                                                                                    Q1
                                                                                                                                                                                    W7
                                                                                                                                                                                           Q1
                                                                                                                                                                                           W8
                                                                                                                                                                                                 Q1
                                                                                                                                                                                                 W9
                                                                                                                                                                                                         Q1
                                                                                                                                                                                                        W10
                                                                                                                                                                                                               Q1
                                                                                                                                                                                                               W11
                                                                                                                                                                                                                      Q1
                                                                                                                                                                                                                      W12
                                                                                                                                                                                                                             • iPhone XR launch traffic was muted
                                           Y/Y%     -3%   -3%       4%    3%    8%     4%     4%    -3%   -1%     1%    -8%    6%    28%    1%    8%     13%   11%   -23%   -27%   -9%    -11%   -15%   -18%   -6%    -5%
                                                                                                                                                                                                                               compared to iPhone X launch last year
                                              6
                                                                                                                                                                                                                               which had a huge spike during launch
                                              5
                                                                                                                                                                                                                               weeks




                            APR
                                              3
                                                                                                                                                                                                                             • Similar trend was observed on iPad Pro
                                              2

                                                                                                                                                                                                                               and MacBook Air launch this year
                                              0     Q4    Q4       Q4     Q4    Q4     Q4     Q4    Q4    Q4     Q4     Q4     Q4    Q4     Q1    Q1     Q1    Q1W    Q1    Q1      Q1     Q1     Q1    Q1     Q1      Q1
                                                    W1    W2       W3     W4    W5     W6     W7    W8    W9     W10    W11    W12   W13    W1    W2     W3     4     W5    W6      W7     W8     W9    W10    W11    W12

                                           Y/Y%
                                                                                                                                                                                                                             • Store traffic continued to deteriorate in
                                                   -11%   -11%     -8%    -9%   -9%    -6%    3%    -8%   -10%   -3%    -10%   -5%   13%   -13%   -9%    -7%   5%    -30%   -42%   -28% -30%     -30%   -28%   -25%   -27%

                                                                                                                                                                                                                               recent few weeks and under indexed last
                                              2

                                                                                                                                                                                                                               year, which could have been impacted by


                            OTC Mono
                                              1

                                              1                                                                                                                                                                                recent political events

                                              0

                                              0     Q4    Q4       Q4     Q4    Q4     Q4     Q4    Q4    Q4     Q4     Q4     Q4    Q4    Q1     Q1     Q1    Q1W   Q1     Q1      Q1    Q1     Q1     Q1     Q1     Q1
                                                    W1    W2       W3     W4    W5     W6     W7    W8    W9     W10    W11    W12   W13   W1     W2     W3     4    W5     W6      W7    W8     W9     W10    W11    W12

                                           Y/Y%    -13%   -12%     -13%   -14% -15%   -17%   -16%   -18% -20%    -17%   -17%   -21% -16%   -20%   -18%   -19% -17%   -23% -30%     -23%   -23%   -23%   -27% -25%     -25%                Apple Confidential—Need to Know




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